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EXHIBIT
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES : Docket No.: 1:22CR60015-010

Vv.

Thomas Caldwell : Judge: Hon. Amit P. Mehta

AFFIDAVIT OF DR. DIANE SOMMER

I, Diane Sommer, hereby declare under penalty of perjury that the following is true and correct.

STATEMENT OF EXPERTISE

I recently retired from the Federal Bureau of Prisons where I was employed as a medical doctor.
I started my career at FCI Otisville and later worked at USP Canaan. I eventually was promoted
to the position of Regional Medical Director and oversaw sixteen BOP medical facilities in the
Northeast. I also performed direct clinical services within the Northeast right up until my
retirement in October of 2023. Prior to my BOP service, I was in private practice and a physician
in the U.S. Army and served in the Persian Gulf. I am currently a board member and Clinical
Director of the Federal Prison and Education and Reform Alliance, which is a newly formed non-
profit corporation pending 501(C)(3) approval.

During my medical career at BOP, I treated, or oversaw the treatment, of thousands of inmates
and the dispensing of medications. I am familiar with medications that are (and are not) stocked
in BOP formularies. Additionally, 1 am familiar with how BOP assigns care levels for inmates in
need of medical services. During my BOP career, my opinion as to the ability of BOP to
adequately treat inmates was solicited dozens of times by the Government.

SCOPE OF MY REVIEW

I have been asked by counsel to review numerous medical records and provide a professional
medical opinion to the court regarding Mr. Caldwell and specifically what he faces during a
potential custodial term within the BOP. I have reviewed the PSR and the medical! records from
John R. Caruso, MD (orthopedic surgeon) relative to his most recent consult in April of 2023 and
records from 2019 to 2020 (post-surgery). I also reviewed his pain management records for many
years up to December 5, 2023, including but not limited to the WVU Medical Center, the Pain
Management Institute, and Mr. Caldwell’s VA Disability Statement. I offer the following opinion
from a BOP clinical perspective.

DIAGNOSES DETERMNED FROM THE RECORDS
1. Chronic low back pain

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a. scoliosis
b. L1/L2 discectomy with wide decompression of L1/L2 nerve roots - 8/2020
c. L4/S1 fusion in 2010 (received no pain relief from this surgery)
d. Failed epidural injections
e. Facet arthropathy
2. Chronic neck pain
a. Cervical spinal stenosis
b. Spondylolisthesis
c. History of auto fusion of C5/C6 (neck)
d. Facet arthropathy
e. loss of cervical lordosis seen on recent MRI
f. Kyphosis
g. Lateral recess stenosis C4/C5, C5/C6,C6/C7
h. Flattening of the spinal cord seen on MRI
i. Disc degeneration C6/C7
j. Facet arthropathy
3. History of bilateral cataract removal
4. History of right hip replacement
5. History of left ankle surgery
6. PTSD
7. Sleep apnea (uses CPAP)
8. History of anesthesia complications (patient reported being awake during surgery in 2010)
9. Left shoulder fusion
10. History of right shoulder surgery
il. History of Basal Cell carcinoma (2016)
12. Right carpal tunnel syndrome (documented on EMG) (Wrist brace recommended)

13. CYP2D6*5 and CYP2D6*4 genetic markers (Mr. Caldwell is a poor metabolizer of certain
drugs, including Codeine, Tramadol, Elavil, Duloxetine, Clonidine, and others, which increases
his risk of adverse reactions) (Test date Oct. 3, 2016)

14. Right hip replacement (May 17, 2022)

15. Chronic Opioid use since 2010 (has taken the following drugs per the records: Suboxone,
Tramadol, Norco, Morphine and Dilaudid. Prescribed Oxymorphone for more than a decade but
switched to Oxycodone when a shortage of the former narcotic occurred)

16. GERD (acid reflux)
17. Migraine headaches
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19. Long term use of steroid medication with probable adrenal gland suppression.

The Court should be aware that my diagnosis is from an extensive review of the entire medical
record; however, the BOP will process the designation to what is included in the PSR and any
other data uploaded into the E-Designation system. The Court should also be aware of the

following information, which provides the proper context for a potential BOP sentence for Mr.
Caldwell:

MEDICAL/MENTAL HEALTH CLASSIFICATION & TREATMENT

Inmates are assigned a medical classification for both physical and mental health during the
designation process, which is a four-level system referred to as “Care Levels.” The BOP publishes
a clinical guide entitled Care Level Classifications for Medical and Mental Health Conditions,
which describes the care levels as:

CARE LEVEL 1: Care Level 1 inmates are less than 70 years of age and have well-
controlled medica! conditions,

CARE LEVEL 2: Care Level 2 inmates are stable outpatients who require clinician
evaluations monthly to every 6 months. Their medical and mental health conditions can be
managed through routine, regularly scheduled appointments with clinicians for monitoring.

CARE LEVEL 3: Care Level 3 inmates are outpatients who have complex, and usually
chronic, medical or mental health conditions and who require frequent clinical contacts to
maintain control or stability of their condition, or to prevent hospitalization or complications.
They may require assistance with some activities of daily living (ADLs) that can be

accomplished by inmate companions. In my professional opinion, this will be Mr. Caldwell’s
Care Level.

CARE LEVEL 4: Care Level 4 inmates require services available only at a BOP Medical
Referral Center (MRC), which provides significantly enhanced medical services and limited
inpatient care. Functioning may be so severely impaired as to require 24-hour skilled nursing
care or nursing assistance. Example conditions: Cancer on active treatment, dialysis,
quadriplegia, stroke or head injury patients, major surgical treatment, and high-risk
pregnancy.

During the designation process, inmates with chronic care needs are referred to the BOP Office of
Medical Designations and Transportation (OMDT), which assigns a “Provisional” care level, which
may be later determined to be “Non-previsional” after a physical evaluation upon arrival at the
designated facility. The appropriate Care Level 3 facility will be dependent upon Mr. Caldwell’s
security level. Mr. Caldwell will not be eligible for a federal prison camp due to the instant offense
behavior as set forth in the PSR. Additionally, Care Level 3 beds are typically in short supply, which
means that Mr. Caldwell would be assigned to whatever bed is available upon his designation. This
raises two concerns. First, Mr. Caldwell could be sent far away from his home and wife in Virginia.
Second, regardless of the Court’s recommendation, Mr. Caldwell may be designated to a medium
security facility (instead ofa low security facility) and, accordingly, be housed in a higher risk prison
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population. Essentially, Mr. Caldwell will be designated to a facility that has an open Care Level 3
bed, regardless of its security level or location.

The Court should also be advised that Mr. Caldwell, even as a Care Level 3 patient, will be housed
in the general prison population at his designated facility. While he will likely be guaranteed a lower
bunkbed, he will not be allowed the use of the special bedding and chairs that he currently uses.
Additionally, it is not unusual for inmate cells to be % to % mile from the medical facilities in the
BOP, which could pose a challenge for Mr. Caldwell.

MEDICATION AND BOP FORMULARY

The BOP publishes a two-part National Formulary of the medication the agency dispenses at the
discretion of facility clinicians. The BOP is not bound by the community medication regimen or
recommendations from community providers.

My first concern regarding incarcerating Mr. Caldwell is his medication history for pain
management and his current medication regimen. It has reportedly taken many years and trials to
be able to control his pain. A new physician may alter his regimen based on the BOP formulary.

For instance, Oxymorphone (5 mg., four times a day), which is not stocked in a BOP formulary,
will be changed to whatever opioid drug is available to prevent withdrawal from chronic opioid
use. Importantly, the BOP does not issue medication four times daily, which is Mr. Caldwell’s
current prescription. The physical and mental health effects of a readjustment to his medication
regime are unknown. Mr. Caldwell will be required to walk from his cell to a “pill line” for
opioids. This is a task that his pain condition may prevent him from performing.

It is clear from the records that Mr. Caldwell suffers from numerous painful orthopedic
conditions for which he, for more than 15 years, has tried medical management and operative
solutions. He even underwent a rheumatologic evaluation to determine if there were other causes
for his pain. His neurosurgeon stated that he can walk up a flight of stairs and can perform
Activities of Daily Living (ADL's). However, ADL's in a prison setting are different. Mr.
Caldwell must be able to walk the distance from his housing unit to get to medical appointments,
pill line, and meals--and do this within 5 to 10 minutes if designated to a maintine institution.
This will be a difficult task for Mr. Caldwell given his orthopedic conditions. In fact, I have
witnessed several inmates with orthopedic conditions become wheelchair bound after
incarceration because their pain limited their ability to navigate the institution's compound. The
only way to get to meals, pill line and other places within the timeframe allowed would be to
have another inmate push them in a wheelchair. While some (not all) federal prisons have inmate
aides to assist in activities, he would still be relying on another inmate for activities of daily
living.

Mr. Caldwell has done what he can to remain ambulatory at home with the assistance of his
spouse. He will have no such support in prison and basically be fending for himself with the
(possible) assistance of other inmates.

Activilies as simple as sleeping will be difficult because of the narrow beds and thin mattresses
that are standardized in a custodial setting. This could aggravate his condition as well as
exacerbate any pain and suffering.
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formulary for 30 days usually is approved in this time frame. Based off the medical records
provided for review, there is justification for tong term use of this medication.

* Clonidine is unlikely to be prescribed as there is no supporting diagnosis for the drug's usc
in the PSR.

* Relpax is not on the formulary. and he will most likely be issued Imitrex as a substitute.

« Glucosamine Chondroitin will be discontinued, as it is ncither m the formulary nor
offered in the commissary.

* Prevacid will be changed to Pepcid unless Mr. Caldwell has an EGD report.

*  Vyvanse will be discontinued beciuse there is no supporting diagnosis in the PSR or
medical records provided.

In summary, Mr. Caldwell will have substantial changes made to his medications from the very
beginning of a custodial tem if he is incarcerated in the BOP.

CONCLUSION

Mr. Caldwell faces significant challenges from a medical treatment perspective when it comes to
the continuity of care he is receiving in the community compared to what is offered in the prison
selfing. lt is my professional opinion that the BOP, as sct forth above, will not honor his specific
drug regime. In the cvent of a custodial term, in my professional opinion, Mr. Caldwell's painful.
multiple arthopedic conditions will be exacerbated by a tenn of incarceration.

Executed on this 27" day of February 202

Dr. Diane Sommer: (1 AI GAZ»

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Diane Rita Sommer

ALTE.

Day Phone: a
Evening Phone: <a

Email:

Availability:
Job Type: Permanent, Telework
Work Schedule: Full-time

Work Experience:

Acting Clinical Director
Federal Bureau of Prisons
FCI Ray Brook

Ray Brook, NY

7/2020 - 10/2023

Hours per week: 10

Duties, Accomplishments and Related Skills:

Provided remote coverage for the institution in the absence of a physician.
Provided on site care and telehealth visits.

Performed utilization review for the institution.

Established their program for the treatment of patients with OUD.
Provided clinical oversight for mid-level providers and nurses.

Performed concurrent with my full time position

Regional Medical Director

Bureau of Prisons (This is a federal job)
320nFirst Street, NW

Washington DC, DC

11/2020 - 10/2023

Hours per week: 60

Duties, Accomplishments and Related Skills:

I was responsible for oversight of the medical care at 16 institutions . Oversee clinical processes and policy
decisions across the region. Collaborated with local staff to improve care and clinical outcomes. Provided
strategic leadership for the institutions in order to improve the health outcomes.

Clinical consultation on MOUD and served as a MAT clinical consultant. Goal was to provide care in a safe and
equitable manner. Performed in person and telchealth visits for MOUD.

Member of the MOUD task force to improve the care of patients with OUD.

Perform the Regional level utilization review.

Perform Peer Reviews on the clinical directors in the the region.

Member of the leadership training committee in order to develop strong leaders for the future.

Member of the LAB Task force. Tried to reduce cost while maintaining quality of care. Looked for ways to
expand use of CLIA waved testing in order to provide timely care.

Chairperson of the Care Level Automation Work Group.

I was responsible for recommending changes and enhancements to current care, review guidelines, and clinical
criteria based on extensive knowledge of the BOP health care delivery systems, utilization methods,
reimbursement methods, and treatment protocols.

Developed, implemented, and interpreted medical policy including medical necessity criteria, clinical practice
guidelines, new technology assessments and cost management.

Participated in executive strategy development and implementation to ensure that appropriate care and services
provided met best practice standards as well as regulatory compliance requirements and Internal Quality

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Assurance Program.

Ensured compliance with clinical goals through monitoring care management performance.

Served as a clinical consultant for the region.

Collaborated with the other regional medical directors and chief of health programs in improving processes,
systems and policies that improve patient care. Worked on strategic planning and long term goals to include the
development of new clinical services.

Acting Clinical Director for FCI SCH, BER, OTV, RBK and USP CAA.

Supervisor: Dr. Stahl (202-3073 198)

Okay to contact this Supervisor: Yes

Acting Clinical Director
BOP (This is a federal job)
USP Canaan

Waymart, PA

11/2020 - 10/2023

Hours per week: 20

Duties, Accomplishments and Related Skills:

Provided remote coverage for the institution in the absence of a physician.
Provided on site care and telehealth visits.

Performed utilization review for the institution,

Established their program for the treatment of patients with OUD.
Provided clinical oversight for mid-level providers and nurses.

Performed concurrent with my full time position

MAT Clinical Consultant
Federal Bureau of Prisons
USP CAA

Waymart, PA

11/2019 - 6/2023

Hours per week: 5

Duties, Accomplishments and Related Skills:

Colatera! duty assignment. I am a Medication Assisted Therapy clinical

consultant for the Northeast Region.

I provide consultation regarding Medication Assisted Therapy to providers throughout the Northeast Region to
include implementation of a program, clinical management and medication recommendations.

Consultation has been provided through on site visits, telework and

telephonic coverage.

Acting Clinical Director
BOP (This is a federal job)
FCI Berlin

Berlin, NH

8/2020 - 3/2022

Hours per week: 15

Duties, Accomplishments and Related Skills:

Provided remote coverage for the institution in the absence of a physician.
Provided on site care and telehealth visits.

Performed utilization review for the institution.

Established their program for the treatment of patients with OUD.
Provided clinical oversight for mid-level providers and nurses.

Performed concurrent with my full time position

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Supervisor: Warden Hazelwood (6037327118)
Okay to contact this Supervisor: Yes

Acting regional Medical Director

Federal Bureau of Prisons (This is a federal job)
USP CAA

Waymart, PA

8/2020 - 11/2020

Hours per week: 25

Series: 0602 Medical Officer

Pay Plan: GS - General Schedule (Ch. 51, 5 U.S.C.).

Grade: 15

This is a time-limited appointment or temporary promotion

Duties, Accomplishments and Related Skills:

Assumed the role of acting Regional Medical Director upon the retirement of the regional medical director.] was
responsible for oversight of the medical care at 16 institutions . Oversee clinical processes and policy decisions
across the region. Collaborated with local staff to improve care and clinical outcomes. Provided strategic
leadership for the institutions in order to improve the health outcomes.

Clinical consultation on MOUD and served as a MAT clinical consultant. Goal was to provide care in a safe and
equitable manner, Performed in person and telehealth visits for MOUD.

Member of the MOUD task force to improve the care of patients with OUD,

Perform the Regional level utilization review.

Perform Peer Reviews on the clinical directors in the the region.

Member of the leadership training committee in order to develop strong leaders for the future.

Member of the LAB Task force. Tried to reduce cost while maintaining quality of care. Looked for ways to
expand use of CLIA waved testing in order to provide timely care.

Chairperson of the Care Level Automation Work Group.

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criteria based on extensive knowledge of the BOP health care delivery systems, utilization methods,
reimbursement methods, and treatment protocols.

Developed, implemented, and interpreted medical policy including medical necessity criteria, clinical practice
guidelines, new technology assessments and cost management.

Participated in executive strategy development and implementation to ensure that appropriate care and services
provided met best practice standards as well as regulatory compliance requirements and Internal Quality
Assurance Program.

Ensured compliance with clinical goals through monitoring care management performance.

Served as a clinical consultant for the region.

Collaborated with the other regional medical directors and chief of health programs in improving processes,
systems and policies that improve patient care. Worked on strategic planning and long term goals to include the
development of new clinical services.

Supervisor: Jeffrey Allen, MD (202-307-3198)

Okay to contact this Supervisor: Yes

NERO MAST Physician
Federal Bureau of Prisons
USP CAA

Waymart, PA

9/2019 - 11/2020

Hours per week: 40

Duties, Accomplishments and Related Skills:

Performed the Regional level utilization review. and non-formulary rewviews.
Perform physician Peer reviews.

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I provided remote coverage to institutions that are short staffed or the
physician is off,

Provided on site care or telehealth visits. Collaborated with local staff to improve care and clinical outcomes.
Provided strategic leadership for the institutions in order to improve the health outcomes.

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provided met best practice standards as well as regulatory compliance requirements and Internal Quality
Assurance Program.

Ensured compliance with clinical goals through monitoring care management performance.

Served as a clinical consultant for the region.

Collaborated with the other regional medical directors and chief of health programs in improving processcs,

systems and policies that improve patient care. Worked on strategic planning and long term goals to include the
development of new clinical services.

developed and implemented the regional response to COVID-19 pandemic.

Clinical Director

Federal Bureau of Prisons
USP CAA
WaymartWaymart, PA

4/2017 - 9/2019

Hours per week: 50

Duties, Accomplishments and Related Skills:

Clinical Director - Sustained Outstanding evaluations. Supervisor of the year 2005
Supervisor of the Quarter 2018 Glynco Honor Graduate Duties include overseeing the

clinical care renedered by other health care providers which at the current time includes a staff physician, two
nurses, two mid-level providers and four paramedics.
chairperson of the Utilization review committee.

Clinical Director

Federal Bureau of Prisons
FCI OTV

Otisville, NY

10/2003 - 4/2017
Hours per week: 60
Duties, Accomplishments and Related Skills:

Clinical Director same job descriotion as at USP Canaan except this was a medium security institution with a
witness protection program and a

satellite camp, Supervised up to six mid-level providers, two nurses and three or four paramedics.

Acting Clinical Director
Federal Bureau of Prisons
USP CAA

Waymart, PA

2/2016 - 4/2017
Hours per week: 15

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Duties, Accomplishments and Related Skills:
While the clinical director of FCI Otisville, I assumed the responsibilities of an acting clinical director for USP
Canaan.

Staff Physician

BonSecours Health Partners
Route 6 and 209

Milford, PA

8/2001 - 10/2003

Hours per week: 50

Duties, Accomplishments and Related Skills:

Staff Physician. Provided both outpatient and inpatient medical care.Hospital admissions and continued follow
up throughout the hospitalization to include ICU care.

Outpatient care ranged from emergencies, routine procedures, well woman care, well baby care, urgent care,
routine care and chronic care.

Urgent Care Physician
Community Hospital MedCheck
1500 North Ritter Drive
Indianapolis, IN

10/1994 - 8/2001

Hours per week; 15

Duties, Accomplishments and Related Skills:
Concurrent with being in practice.

Staff Physician

St. Vincent Hospital

Village Park Family Physicians
Carmel, IN

6/1995 - 8/2001

Hours per week: 55

Duties, Accomplishments and Related Skills:

Provided both inpatient and outpatient care ages ranged from newborn to 99. Did history and physicals, well
woman exams, well baby care, acute care, chronic care management, emergencies.

Physician

Greenfield Family Medicine
801 North Street

Greenfield, IN

7/1994 - 6/1999

Hours per week: 60

Duties, Accomplishments and Related Skills:

Covered the practice of a phsyician who had fallen ill.

Provided both inpatient and outpatient care ages ranged from newborn to 99. Did hisotry
and physicals, well woman exams, well baby care, acute care, chronic care
management, emergencies

Physician
Coastal Emergency Sercise
Fort Stewart

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Fort Stewart, GA

1/1994 - 6/1994

Hours per week: 45

Duties, Accomplishments and Related Skills:

Emergency Room Physician provided Emergency Room

coverage through a contract company while I was on active duty at various hospitals in

the area. After my honorable discharge from the army, I was a full time emergency room

physician at Winn Army Community Hospital from Jan. 1994 to June 1994. During this

time period I worked 40 to 50 hours per week. Covering all shifts - day, evening and morning as well as
weekends and holidays. We provided a wide range of services to

active duty miltary personnel and their families as well as retirees.

Physician

US Military 06/1990 - 12/1993 Winn Army Community
Winn Army Community Hospital

Fort Stewart, GA

6/1990 - 12/1993

Hours per week: 70

Duties, Accomplishments and Related Skills:

Persian Gulf War veteran.

While at Wynn Army Hospital, I assisted with on call coverage for the Internal Medicine Department in addition
to my Family Practice on call duties.

While at Wynn Army Community Hospital, I implemented a Well Woman Clinic address at increasing access to
preventative health care for female patients that were active duty and dependents of a active duty, female
veterans and female retirees.

Education:

Eisenhower Army Medical Center Augusta, GA United States
Professional degree (e.g. MD, JD, DDS) 5 / 1990
Relevant Coursework, Licenses and Certifications:
Competed my residency in Family Medicine

Long Island University Brooklyn, NY United States
Bachelor's degree 5 / 1987

GPA: 3.94 of a maximum 4,00

Credits Earned: Semester Hours

Major: Biology Honors: Summa Cum Laude

SUNY Health Science Center Syracuse, NY United States
Doctorate degree § / 1987

Major: Medical Degree

Relevant Coursework, Licenses and Certifications:
Medical Degree Board Certified in Family Medicine 1990

Job Related Training:
Telehealth

Affiliations:

American Academy of Family Physicians - Member

DVHS Music Booster Club - Past President

DVHS PTA - Past President

PA Academy Of Family Physicians - member

Government and Practice Advocacy Committee, PAFP - Member
American College of Correctional Medicine - Member

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Additional Information:
Have provided Telehealth services for the past four years.

Active PA license
Inactive IN, GA and NY license - can be activated

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